                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERICA,

                    Plaintiff,

      v.                                            Case No. 18–CR-62 (PP-DEJ)

BRIAN L. GANOS, SONAG COMPANY, INC.,
MARK F. SPINDLER, AND NUVO CONSTRUCTION CO., INC.

                    Defendants.


                                 MOTION TO QUASH


      The State of Wisconsin, by Assistant Attorney General Randall Schneider,

moves to quash the Rule 17 subpoenas that were served on the Wisconsin Elections

Commission and the Wisconsin Department of Transportation in the above-entitled

matter requesting that said agencies provide confidential information to the

defendant herein.

      As grounds therefore, the State of Wisconsin states as follows:

      1.     In order for a Federal Rule 17 subpoena to be enforced, the defense must

make the following showing to the court:

      [T]he moving party must show: (1) that the documents are evidentiary
      and relevant; (2) that they are not otherwise procurable reasonably in
      advance of trial by exercise of due diligence; (3) that the party cannot
      properly prepare for trial without such production and inspection in
      advance of trial and that the failure to obtain such inspection may tend
      unreasonably to delay the trial; and (4) that the application is made in
      good faith and is not intended as a general “fishing expedition.”

United States v. Nixon, 418 U.S. 683, 700, 94 S. Ct. 3090 (1974).



       Case 2:18-cr-00062-PP-DEJ Filed 08/31/18 Page 1 of 2 Document 53
      2.    The State of Wisconsin and the court have not been advised of the

legal basis of the defendant’s claim and how these documents are relevant to

said claim. Because the defense has not made the requisite showing, the State

of Wisconsin moves to quash the subpoenas.

      Dated this 29th day of August, 2018.

                                      Respectfully submitted,

                                      BRAD D. SCHIMEL
                                      Attorney General of Wisconsin




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      Case 2:18-cr-00062-PP-DEJ Filed 08/31/18 Page 2 of 2 Document 53
